                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CIVIL CASE NO. 3:23-cv-00813-KDB-DCK

RUSSELL PFEFFER, DAVID DESSNER,           )
ADAM SHERMAN, FRANK CRONIN,               )
ROGER ROJAS, JASON AUERBACH,              )
GRACE BOZICK, MUHAMED VRLAKU,             )
and ALL OTHERS SIMILARLY SITUATED,        )
                                          )
                        Plaintiffs,       )
                                          )
v.                                        )
                                          )
BANK OF AMERICA CORPORATION and           )
BANK OF AMERICA, N.A.,                    )
                                          )
                        Defendants.       )
__________________________________________)

 DEFENDANTS’ REQUEST FOR MODIFICATION OF COURT-APPROVED NOTICE

          Defendants Bank of America Corporation and Bank of America, N.A., by counsel,

respectfully request that the Court modify the Court-authorized notice approved by the Court (Doc.

49) as described below:

          1.    On Friday, July 26, 2024, the Court entered an Order that granted in part and denied

in part Plaintiffs’ Motion for Conditional Collective Certification and Facilitated Notice (Doc. 20).

As part of the Order, the Court included approved notices to be disseminated based on the parties’

drafts.

          2.    During the meet and confer process to prepare the draft notices, undersigned

counsel alerted Plaintiffs’ counsel that their proposed notice inaccurately stated that the named

plaintiffs would represent the opt-in plaintiffs. See Cameron-Grant v. Maxim Healthcare Servs.,

Inc., 347 F.3d 1240, 1249 (11th Cir. 2003) (“In light of the history underlying the amendments to

the FLSA, it is not surprising that § 216(b) is a fundamentally different creature than the Rule 23




          Case 3:23-cv-00813-KDB-DCK Document 53 Filed 08/02/24 Page 1 of 5
class action. Even if the § 216(b) plaintiff can demonstrate that there are other plaintiffs ‘similarly

situated’ to him, see 29 U.S.C. § 216(b), he has no right to represent them.”).

       3.      Plaintiffs’ counsel agreed with undersigned counsel’s position because they

amended the proposed notice to eliminate the language indicating that Plaintiffs would represent

the opt-ins in this litigation. However, it appears that the Court inadvertently included one

reference stating that the Plaintiffs would represent the opt-ins. Specifically, the third paragraph

of Section 5 states in pertinent part: “If you join this lawsuit, you are choosing to be represented

by Plaintiffs’ counsel and the Named Plaintiffs who brought this case to make decisions and

agreements on your behalf concerning the lawsuit. These decisions and agreements will then be

binding on you.” (Doc. 49, p. 17.)

       4.      In order to correct this language to comport with the status afforded to opt-in party

plaintiffs under 29 U.S.C. § 216(b), Defendants request that this language be modified to remove

the reference to representation by the Named Plaintiffs and to state: “If you join this lawsuit, you

are choosing to be represented by Plaintiffs’ counsel to make decisions and agreements on your

behalf concerning the lawsuit. These decisions and agreements will then be binding on you.”

       5.      A redline of the notice showing these proposed changes is attached as Exhibit 1.

A clean version of the proposed modified notice is attached as Exhibit 2.

       6.      Pursuant to Local Rule 7.1 (b), the undersigned counsel conferred with Plaintiffs’

counsel regarding the proposed modification contained herein. Plaintiffs’ counsel do not consent

to the modification proposed by Defendants.

       Respectfully submitted, this the 2nd day of August 2024.


                                                      /s/ Meredith A. Pinson
                                                      Meredith A. Pinson (N.C. Bar No. 39990)
                                                      mpinson@mcguirewoods.com



                                    2
      Case 3:23-cv-00813-KDB-DCK Document 53 Filed 08/02/24 Page 2 of 5
                                  McGuireWoods LLP
                                  201 North Tryon Street, Ste. 3000
                                  Charlotte, North Carolina 28202
                                  704.343.2252 / 704.353.6171 (Facsimile)

                                  Rebecca W. Lineberry (Admitted pro hac
                                  vice)
                                  rlineberry@mcguirewoods.com
                                  McGuireWoods LLP
                                  500 East Pratt Street, Ste. 1000
                                  Baltimore, Maryland 21202
                                  410.659.4414 / 410.659.4475 (Facsimile)

                                  Attorneys for Defendants




                              3
Case 3:23-cv-00813-KDB-DCK Document 53 Filed 08/02/24 Page 3 of 5
 CERTIFICATE PURSUANT TO THIS COURT’S JUNE 18, 2024 STANDING ORDER
               IN RE: USE OF ARTIFICIAL INTELLIGENCE

       Pursuant to the above-referenced Standing Order, the undersigned hereby certifies as of

August 2, 2024 that:

   •   No artificial intelligence was employed in doing the research for the preparation of this

       document, or the exhibits thereto, with the exception of such artificial intelligence

       embedded in the standard online legal research sources Westlaw, Lexis, FastCase, and

       Bloomberg;

   •   Every statement and every citation to an authority contained in this document has been

       checked by an attorney in this case and/or a paralegal working at his/her direction as to

       the accuracy of the proposition for which it is offered, and the citation to authority

       provided.


                                              /s/ Meredith A. Pinson
                                              Meredith A. Pinson (N.C. Bar No. 39990)




                                     4
       Case 3:23-cv-00813-KDB-DCK Document 53 Filed 08/02/24 Page 4 of 5
                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of August 2024, a copy of the foregoing was served

by electronic notification on all parties registered with this Court’s CM/ECF system to receive

notices for this case.


                                                    /s/ Meredith A. Pinson
                                                    Meredith A. Pinson (N.C. Bar No. 39990)




                                     5
       Case 3:23-cv-00813-KDB-DCK Document 53 Filed 08/02/24 Page 5 of 5
